                Case 17-11375-BLS              Doc 2044        Filed 02/14/18         Page 1 of 9



                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re                                                        Chapter 11

    TK Holdings, Inc., et al.1                                   Case No. 17-11375 (BLS)

                       Debtors.                                  Related Docket Nos. 1629, and 1860
                                                                 Hearing Date: Feb. 16, 2018 at 10:30 a.m.
                                                                 Objection Deadline: Extended to Feb. 14, 2018



              OBJECTION OF MICHAEL O’BOYLE, THOMAS MESSNER, DON
            SCHIEMANN, SHAN CONG, AND ALBY BERMAN TO (I) NOTICE OF
               REJECTION OF EXECUTORY CONTRACTS AND UNEXPIRED
            LEASES AND (II) CONFIRMATION OF THE THIRD AMENDED JOINT
             CHAPTER 11 PLAN OF REORGANIZATION OF TK HOLDINGS INC.
                             AND ITS AFFILIATED DEBTORS

                  NOW COMES, Michael O’Boyle, Thomas Messner, Don Schiemann, Shan Cong,

and Alby Berman (collectively the “O’Boyle Objectors”) by and through their undersigned

counsel, hereby submit this objection in response to (i) the Notice of Rejection of Executory

Contracts and Unexpired Leases [D.I. 1860, filed January 31, 2018] (the “Rejection Notice”), and

(ii) the Third Amended Joint Chapter 11 Plan of Reorganization of T.K. Holdings, Inc. and its

Affiliated Debtors [D.I. 1629, filed January 5, 2018] (the “Plan”), and in support thereof,

respectfully states as follows:

                                      PRELIMINARY STATEMENT

                  The O’Boyle Objectors make this objection to the Rejection Notice, and, to the

extent it would in any way preclude or limit their ability to assert their claims against the Debtors



1
  The debtors in these chapter 11 cases (the “Debtors”), along with the last four digits of each Debtor’s federal tax
identification number, as applicable, are: Takata Americas (9766); TK Finance, LLC (2753); TK China, LLC (1312);
TK Holdings Inc. (3416); Takata Protection Systems Inc. (3881); Interiors in Flight Inc. (4046); TK Mexico Inc.
(8331); TK Mexico LLC (9029); TK Holdings de Mexico S. de R.L. de C.V. (N/A); Industrias Irvin de Mexico, S.A.
de C.V. (N/A); Takata de Mexico, S.A. de C.V. (N/A); and Strosshe-Mex, S. de R.L. de C.V. (N/A). Except as
otherwise noted, the Debtors’ international affiliates and subsidiaries are not debtors in these chapter 11 cases. The
location of the Debtors’ corporate headquarters is 2500 Takata Drive, Auburn Hills, Michigan 48326.



#47397164 v2
                Case 17-11375-BLS         Doc 2044      Filed 02/14/18      Page 2 of 9



in full, confirmation of the proposed Plan. The O’Boyle Objectors also object in order to preserve

all of their rights as creditors of the Debtors and to preserve their rights with respect to the Deferred

Compensation Plan and other benefits that the O’Boyle Objectors earned while employees of TK

Holdings Inc.

                 At this time, the O’Boyle Objectors are still attempting to determine what all of

their rights are to their holdings in certain Deferred Compensation Plans and also attempting to

determine how the Debtors and how Key Safety are attempting to treat their interests. The O’Boyle

Objectors have received conflicting notices with the Debtors stating that they intend to reject a

certain Deferred Compensation Plan but Key Safety stating that it intends to assume all contracts

with them but setting the cure amounts at zero. The O’Boyle Objectors join in the concerns raised

by Mr. and Mrs. Robert C. Fisher to their limited objection to the Debtors’ cure notice, rejection

notice and Plan regarding the lack of notice and time that they have had to evaluate the Debtors’

proposed treatment of them.

                 The O’Boyle Objectors also object to the Debtors’ attempt to shift the burden of

reviewing contracts and making reasonable determinations in accordance with the Bankruptcy

Code as to whether the contracts are executory and what the correct cure obligation would be in

the event Debtors seek to assume the contracts.

                                          BACKGROUND

                 1.     Each of the O’Boyle Objectors is a former employee of the Debtors and was

a participant in the NQ II Deferred Compensation Plan (the “Deferred Compensation Plan”).

                 2.     In or about March of 2015, the O’Boyle Objectors were informed that the

Deferred Compensation Plan was being cancelled due to lack of participation. The Deferred

Compensation Plan was subject to Section 409a of the Internal Revenue Code (“IRC”). While all



                                                   2
#47397164 v2
               Case 17-11375-BLS        Doc 2044      Filed 02/14/18     Page 3 of 9



of funds in each of the O’Boyle Objectors’ Deferred Compensation Plan Account, originated from

the O’Boyle Objectors’ wages, in order to be able to defer taxes on the funds in the accounts, those

funds were required to be subject to the claims of the Debtors’ general creditors in certain

circumstances. Because of the requirement that the funds in the Deferred Compensation Plan

Accounts be subject to the claims of the Debtors’ general creditors, the IRC barred liquidation of

the Deferred Compensation Plan during the first year after termination. The IRC, however, also

required that a once a Deferred Compensation Plan was terminated, the plan had to be fully

liquidated between 13 and 24 months after cancelation. Accordingly, having terminated the

Deferred Compensation Plan, the Debtors were required to fully liquidate the plan between March

of 2016 and March of 2017. Indeed, the Debtors had informed the O’Boyle Objectors that the

Deferred Compensation Plan would be fully liquidated as soon as practical after March of 2016.

Instead of liquidating the Deferred Compensation Plan in compliance with the IRC, the Debtors

sent an inaccurate and misleading communication to the O’Boyle Objectors stating that they did

not deem it prudent to liquidate the plan in March of 2016 due to possible adverse tax

consequences. As of March 2017, the Debtors were obligated under the IRC to liquidate the

Deferred Compensation Plan and, accordingly, at that time the wages that the O’Boyle Objectors

had deferred became the full property of the O’Boyle Objectors which were no longer available to

the claims of general creditors.

                3.     The Debtors filed their bankruptcy petition in May of 2017. This was

months after the deadline had passed to fully liquidate the plan. In January of 2018, if the Deferred

Compensation Plan had not been terminated and fully liquidated earlier, the O’Boyle Objectors

would have expected an annual distribution. Just weeks ago, however, the Debtors informed the

O’Boyle Objectors that no distributions would be made from the funds in their Deferred



                                                 3
#47397164 v2
               Case 17-11375-BLS        Doc 2044      Filed 02/14/18     Page 4 of 9



Compensation Accounts and that the Deferred Compensation Plan was considered an executory

contract and was being rejected. The Debtors, however, also asserted that current employees who

were transitioning over to Key Safety would be entitled to receive the funds in their Deferred

Compensation Plan Accounts. Then over the February 11-12 weekend the O’Boyle Objectors

received notice from Key Safety that Key Safety would be assuming their contracts as well as a

notice from the Official Committee of Unsecured Creditors urging them to accept the amount that

Key Safety asserted as the cure amount, which cure amount was zero.

                4.      On January 5, 2018, the Debtors filed the Plan, which contemplates that

certain contracts and agreements will be assumed and assigned to the Plan Sponsor, assumed by

the relevant Debtor, or rejected.

                5.     On January 5, 2018, the Court entered its Order (I) Approving the Proposed

Disclosure Statement and the Form and Manner of the Notice of a Hearing Thereon, (II)

Establishing Solicitation and Voting Procedures, and (III) Establishing Notice and Objection

Procedures for Confirmation of the Debtors’ Plan [D.I. 1639] (the “Disclosure Statement Order”),

which provides, among other things, that the Debtors “shall file and serve the Notice of Cure

Amount no later than thirty (30) days prior to the Confirmation Hearing Date and shall file and

serve any Reorganized Takata Assumption Notices or Rejection Notices on or prior to January

30, 2018.” (Disclosure Statement Order, ¶ 31, emphasis in original).

                6.     On January 31, 2018, after the deadline established by the Disclosure

Statement Order for doing so had passed, the Debtors filed the Rejection Notice, in which each of

the Agreements are identified for rejection as of the effective date of the Plan.

                                           OBJECTION




                                                  4
#47397164 v2
               Case 17-11375-BLS        Doc 2044     Filed 02/14/18    Page 5 of 9



                7.     The O’Boyle Objectors object to any efforts on the part of the

Debtors to treat their interest in funds held in their Deferred Compensation Plan Accounts in any

manner other than belonging to the O’Boyle Objectors. The O’Boyle Objectors are confused by

the conflicting notices asserting that the Debtors are rejecting the Deferred Compensation Plan

(which had been terminated in March of 2015 and was required under the IRC to be fully liquidated

by March of 2017) while also receiving notices from Key Safety that their contracts are being

assumed coupled with communication from the Committee urging them to agree the zero cure

amounted asserted by Key Safety.

                8.     Additionally, the O’Boyle Objectors object to the Rejection Notice on the

grounds that the Debtors have failed to show, or even assert, that the Agreements are executory

thereby permitting rejection under Section 365 of the Bankruptcy Code. As stated above, the

O’Boyle Objectors believe that, in accordance with the communications that they received from

the Debtors regarding the termination of the Deferred Compensation Plan and the requirements of

the IRC mandating a prompt liquidation once the funds in the Deferred Compensation Plan

Accounts were available to the Debtors’ general creditors for the year following the termination,

that the Deferred Compensation Plan ceased to be an executory contract but instead became the

property of the O’Boyle Objectors no longer subject to claims of general creditors.

                                 RESERVATION OF RIGHTS

                9.     The O’Boyle Objectors respectfully reserve all rights with respect to their

interests in the Deferred Compensation Plan, the Rejection Notice, the proposed Plan, and their

right to supplement this objection and assert additional objections.

                WHEREFORE, the O’Boyle Objectors respectfully submit this objection to the

Rejection Notice and to confirmation of the Plan to the extent their rights with respect to the



                                                 5
#47397164 v2
               Case 17-11375-BLS      Doc 2044     Filed 02/14/18    Page 6 of 9



Deferred Compensation Plan would be prejudiced and request such other relief as the Court deems

just and proper.




                                              6
#47397164 v2
               Case 17-11375-BLS   Doc 2044   Filed 02/14/18     Page 7 of 9



Dated: February 14, 2018               Respectfully submitted,
       Wilmington, Delaware
                                       WERB & SULLIVAN

                                       /s/ _Brian A. Sullivan___________
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                                          7
#47397164 v2
               Case 17-11375-BLS        Doc 2044     Filed 02/14/18      Page 8 of 9



                                 CERTIFICATE OF SERVICE

          I, Brian A. Sullivan, hereby certify that on February 14, 2018, a copy of the foregoing

document was electronically filed by CM/ECF, and I caused copies to be served upon the following

parties by electronic mail:


  Debtors                                          Office of the U.S. Trustee
  TK Holdings Inc.                                 Office of the U.S. Trustee for the District of
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#47397164 v2
               Case 17-11375-BLS      Doc 2044        Filed 02/14/18   Page 9 of 9




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Dated: February 14, 2018                     /s/ Brian A. Sullivan
                                             Brian A. Sullivan (DE No. 2098)




                                               -2-
#47397164 v2
